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                                                     July 5, 2017

BY E-MAIL

Honorable Katherine H. Parker
United States Magistrate Judge
Southern District of New York
500 Pearl Street, Suite 1950
New York, New York 10007
       Re:     City of Almaty, Kazakhstan, et ano. v. Mukhtar Ablyazov, et al.,
               Case No. 15 Civ. 5345 (AJN) (KHP)
Dear Judge Parker:
        We represent the City of Almaty, Kazakhstan and BTA Bank (“the Kazakh Entities” or
“Plaintiffs”). We write in opposition to Ilyas and Viktor Khrapunov’s letter motion seeking an
order reopening the deposition of Nurlan Nurgabylov so that they may examine Mr. Nurgabylov
using documents stolen from Kazakh government officials by computer hackers at the direction
of Ilyas Khrapunov. We also write to seek a protective order pursuant to Rule 26 prohibiting the
use of these stolen documents in this litigation.1
                                          Background
       At about 1:20 PM on the day before the scheduled deposition of Mr. Nurgabylov – who
by agreement of the parties appeared both as BTA Bank’s Rule 30(b)(6) designee and in his
individual capacity – the Khrapunovs produced more than 400 pages of documents, which upon
even a cursory review were obviously wrongfully obtained (the “Hacked Documents”). These
documents included e-mails of various officials in the Republic of Kazakhstan, including
members of the General Prosecutors Office and the Ministry of Justice (“MOJ”).




                           Public filings confirm that Kazakhstan was the victim of a massive
cyberattack, which included the theft of communications belonging to the Minister of Justice and
Mr. Nurgabylov himself, including from his time as an MOJ lawyer. See Exs. 3 (3/10/15
Declaration of Marat Beketayev) and 4 (3/12/15 Declaration of Jacques Semmelman).
      At the deposition the following morning, the Khrapunovs’ counsel attempted to examine
Mr. Nurgabylov using the Hacked Documents. Plaintiffs’ counsel stated that the Hacked

1
        To avoid redundant filings, the Kazakh Entities have incorporated their cross-motion for
a protective order into their opposition to the Khrapunov’s letter motion, and accordingly, have
exceeded the Court’s usual three-page limit on letters. If the Court prefers, the Kazakh Entities
can file separate letters in opposition to the Khrapunovs’ motion to reopen the deposition, and in
support of a protective order.
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Documents appeared to be stolen, and requested that opposing counsel explain how he obtained
them. The Khrapunovs’ counsel had no explanation other than to say the documents came from
“the Kazaword production.” Ex. 5, Tr. 43:16-45:7. Kazaword is a now-defunct website – akin to
a Kazakh exile version of Wikileaks – that was a place for computer hackers to dump stolen
material that could then be used to attack public figures. Plaintiffs’ counsel pointed out that
Kazaword had stopped hosting stolen documents more than a year ago following a court order,
and that Mr. Nurgabylov would not be authenticating documents that appeared to be stolen
without guidance from the Court.2 Ex. 5, Tr. 44:20-45:7 (MR. CURLEY: “When we go back on
the record – MR. SCHWARTZ: We are on the record now. I intend to show this to Judge Nathan
so you should think carefully about the answer to the question, where did you get these
documents? MR. KENNEY: Let’s take a break.”); Ex. 5, Tr. 45:19-45:25 (MR. SCHWARTZ:
“You did not pull them down off the internet because they have been down for some time,
correct?”). The deposition then proceeded for a full seven hours, without the Khrapunovs’
counsel making any effort to contact the Court.
       On May 31, 2017, the Khrapunovs requested to meet-and-confer, indicating that they
wished to reopen Mr. Nurgabylov’s deposition to use the Hacked Documents. During that
meeting, Plaintiffs again asked how the Khrapunovs obtained the Hacked Documents, and
counsel changed their story, explaining that they had not obtained the Hacked Documents from
Kazaword directly, but instead, had gotten them from someone else – whom they refused to
name – who apparently attributed them to Kazaword. See Ex. 6 (7/5/17 Decl. of Dan Boyle).
When Plaintiffs’ counsel asked for some verification that the Hacked Documents actually came
from Kazaword, and not from the hackers themselves, none was provided.
        The Khrapunovs’ letter omits this course of events, perhaps because it illuminates exactly
why their request should be denied: a litigant has no right to use stolen materials to its benefit,
and the Hacked Documents are plainly the products of crime. The Khrapunovs have offered no
proof that the Hacked Documents were ever hosted on Kazaword or otherwise publicly-available
and record evidence indicates that it was Ilyas Khrapunov himself that was responsible for the
theft of these documents. To the extent that the documents were ever publicly available, the
Republic of Kazakhstan took prompt and immediate action to assert their confidentiality and
obtained an order that the documents were obtained through criminal computer hacking in
violation of U.S. law, see 18 U.S.C. § 1030, and that any further dissemination would result in
irreparable harm. See Ex. 7 (Order Granting Plaintiff’s Motion For A Preliminary Injunction,
Republic of Kazakhstan v. Does 1-100, No. 15 Civ. 1900 (ER) (S.D.N.Y. Mar. 20, 2015)).3
       Moreover, it simply cannot be the case that all of the Hacked Documents were publicly
available on the Kazaword site. Some of the Hacked Documents produced by the Khrapunovs –

2
        The Khrapunovs’ claim that they produced the Hacked Documents “as a courtesy” is
ridiculous. Besides being responsive to Plaintiffs’ document requests, the Khrapunovs knew that
if the Hacked Documents had been produced with reasonable notice – and not less than 24 hours
before the deposition of a senior executive who had already flown across the world to be deposed
– the Kazakh Entities would have had time to bring this issue before the Court.
3
      The Khrapunovs fault the Kazakh Entities for failing to assert privilege over the Hacked
Documents, but the Hacked Documents principally implicate the privileged relationship between
MOJ and its counsel, and neither MOJ nor the Republic of Kazakhstan is a party here.
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                                                                                    a full year
after the Preliminary Injunction and the subsequent shuttering of the Kazaword site. As a result –
and because they failed to make an appropriate record at the deposition – the Khrapunovs have
no right to use the Hacked Documents to their advantage here.
  The Court Should Issue a Protective Order Barring the Khrapunovs from Using Stolen
                                       Materials
         The Kazakh Entities respectfully request that the Court enter a protective order
prohibiting the Khrapunovs from using the Hacked Documents in this action. A protective order
is appropriate where a movant has shown good cause. Fed. R. Civ. P. 26(c)(1). Courts in this
district have consistently prohibited parties from using stolen materials to their advantage in
litigation. See Fayemi v. Hambrecht and Quist, Inc., 174 F.R.D. 319, 325–26 (S.D.N.Y. 1997)
(pursuant to “inherent equitable powers to sanction a party that seeks to use in litigation evidence
that was wrongfully obtained,” court may preclude the use of stolen evidence in litigation, even
if it could otherwise have been discoverable); Pure Power Boot Camp v. Warrior Fitness Boot
Camp, 587 F. Supp. 2d 548, 568–69, 571 (S.D.N.Y. 2008) (“In the end, the one thing that should
remain unsullied is the integrity of the judicial process. In this Court’s view, that integrity is
threatened by admitting evidence wrongfully, if not unlawfully, secured.”).
         Ethical rules similarly bar counsel from using stolen documents, even if counsel had no
involvement in the theft. See New York City Bar, Professional Ethics Committee, Formal
Opinion 1989-1 (Mar. 13, 1989) (“[I]irrespective of whether the lawyer was himself a party to
this act of wrongdoing, he should not help his client take advantage of such wrongdoing by
embracing it and using it to promote the client’s cause.” (internal quotation marks omitted)).
         The Khrapunovs attempt to sidestep this law by claiming, without any evidentiary
support or explanation, that “the documents at issue were from a collection of material
sometimes referred to as the ‘Kazaword’ documents.” Ltr. at 1. As noted above, however, the
Khrapunovs’ counsel affirmatively stated that they did not retrieve the Hacked Documents from
Kazaword, but rather from a third party they now refuse to identify. Moreover, certain of the
Hacked Documents could not conceivably come from Kazaword because they post-date the
takedown of that site.
Needless to say, neither the Court nor the Kazakh Entities have been given any way of verifying
how this mysterious third party obtained the Hacked Documents, whether this third party was
involved in the underlying theft, or whether any of the Hacked Documents were actually
obtained from Kazaword. But given Ilyas Khrapunovs’ involvement in the hacking and the fact
that the Hacked Documents include materials that could not have been obtained from Kazaword,
it would be entirely inequitable to allow the Khrapunovs to use them.
       The Khrapunovs point to a case they claim allows “anyone other than those directly
involved in the alleged theft” to use documents posted on Kazaword (Ltr. at 2), but that holding
cannot apply to Ilyas Khrapunov. As the Khrapunovs admit, Ilyas Khrapunov has been named in
a lawsuit over his involvement in the theft (Ltr. at 2),4




       4
        A copy of the Amended Complaint in that action, Republic of Kazakhstan v. Muratbek
Ketebayev, et al, 17-cv-00246 (LHK) (N.D. Cal, January 20, 2017), is attached as Exhibit 9.
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The Khrapunovs attempt to rebut this testimony by attacking Mr. Bourg as an ex-employee “with
an axe to grind” (Ltr. at 2), but Judge Nathan has already found him to be credible. [ECF No.
175, at 5, n.4]. Even if the Hacked Documents were publicly available on Kazaword, an
individual implicated in the original theft has no right to use them. Cf. In re Zyprexa Injunction,
474 F. Supp. 2d 385, 396 (E.D.N.Y. 2007) (“Affirmatively inducing the stealing of documents is
treated differently from passively accepting stolen documents of public importance for
dissemination.”).
        Simply put, Ilyas Khrapunov is a named defendant in a case concerning the hacking;
there is record evidence of at least two witnesses who have linked him to the hacking; there is no
actual evidence that any of the Hacked Documents came from the Kazaword site; certain of the
Hacked Documents could not possibly have come from the Kazaword site; and counsel for Ilyas
Khrapunov has declined to provide any evidence or representation as to where the Hacked
Documents actually came from. Because the Khrapunovs have not even tried to establish that the
Hacked Documents were ever publicly available, and because the evidence indicates Ilyas was
responsible for their theft, they have no right to use these stolen documents.
                The Khrapunovs Have No Basis for Reopening the Deposition
        Separate and apart from whether the use of the Hacked Documents should be barred by a
protective order, these documents certainly provide no grounds for the relief now requested.
Following the dispute over the Hacked Documents, the Khrapunovs, along with defendant
Triadou SPV S.A., conducted a full seven hours of examination of Mr. Nurgabylov. Where a
witness has sat for a full seven hours, a movant must show good cause to reopen and extend the
deposition. Margel v. E.G.L. Gem Lab Ltd., No. 04 CIV. 1514 PAC, 2008 WL 2224288, at *8
(S.D.N.Y. May 29, 2008) (“The 2000 amendments to Rule 30(d)(2) established a presumptive
time limit of seven hours for depositions, with the proviso that this period can be extended for
good cause shown. The determination of whether good cause exists is fact specific.”). The
Khrapunovs have failed to do so here.
        The only purpose the Khrapunov state for reopening and extending the deposition is to
use the Hacked Documents, but as explained above, they have no right to do so.
        But even if the Court finds that the Khrapunovs may use the Hacked Documents for some
purposes, reopening Mr. Nurgabylov’s deposition is not an appropriate remedy. The Khrapunovs
were not prevented from asking any questions informed by the Hacked Documents, a point that
Plaintiffs’ counsel made clear on the record. See Ex. 5, Tr. 42:3-42:21 (designating deposition
transcript as confidential because the information obtained from hacking “to the extent it is
authentic, [is] all plainly confidential [and] informs your questions whether or not you question
based on those documents”). Nor do the Khrapunovs accurately point to any instances in which
Mr. Nurgabylov’s testimony was at odds with the Hacked Documents, and therefore in which
counsel may have justifiably confronted him with those documents – and even then, they could
have done so without authenticating the documents by, for example, using the Hacked
Documents to refresh the witness’s recollection.5

       5      The single example the Khrapunovs offer is misguided. The Khrapunovs state that
Mr. Nurgabylov “denied that BTA takes instructions from the government,” and claim that one
of the Hacked Documents contradicts this testimony (Ltr. at 2).
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         The only thing that Plaintiffs’ counsel objected to was having the witness authenticate
the documents. Ex. 5, Tr. 43:16-19 (MR. SCHWARTZ: “I understand you want to authenticate
the stolen emails through this witness and that is not something we are going to permit.”). Indeed,
there was precisely one question during the seven hour deposition that the witness was instructed
not to answer concerning the Hacked Documents. That question, referring to one of those
documents, was: “Do you recognize Exhibit 3?” Ex. 5, Tr. 54:18-54:20. In fact, counsel for
Triadou questioned Mr. Nurgabylov
                       under an explicit agreement between counsel that the witness would not be
asked to authenticate the Hacked Documents. Ex. 5, Tr. 223:11-20 (MS. MICHAELSON: “I will
state for the record that counsel discussed this and what will be Triadou’s next exhibit, off the
record, and came to an agreement that the witness would be permitted to answer questions about
this, these two exhibits, but would not be able to authenticate the document. . .”).

        In the event that the Court agrees with the Khrapunovs, the Hacked Documents – to the
extent that they may in fact be authentic – can easily and efficiently be authenticated by
stipulation, interrogatory, or request for admission. There is no good cause for requiring a high-
ranking bank executive who lives in Kazakhstan to return to the United States simply to
authenticate documents.
      For the above reasons, the Khrapunovs’ request to re-open the deposition of Mr.
Nurgabylov should be denied, and the Khrapunovs should be precluded from using the Hacked
Documents in this litigation.
                                                     Respectfully,


                                                      /s/ Matthew L. Schwartz
                                                     Matthew L. Schwartz




                                     The Khrapunovs certainly do not need stolen documents to
verify what the witness has already discussed in detail, and such a request is unnecessarily
cumulative. See Dash v. Seagate Tech. (US) Holdings, Inc., No. CV 13-6329 LDW, 2015 WL
4257329, at *6 (E.D.N.Y. July 14, 2015) (denying request to reopen deposition where
questioning would be “unnecessarily cumulative” and counsel already had the opportunity to
probe the topics identified). In any event, if counsel believed that information in the Hacked
Documents contradicted the witness’s testimony, there was nothing stopping them from using
the documents to refresh the witnesses’ memory without need for authentication.
